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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                     CHARLOTTESVILLE DIVISION
                       Case No. 3:22-cv-00049-NKM

 BABY DOE, et al.,                      )
                                        )
       Plaintiffs,                      )
                                        )
 v.                                     )     NOTICE OF APPEARANCE
                                        )
 JOSHUA MAST, et al.,                   )
                                        )
       Defendants,                      )
                                        )
             and                        )
                                        )
 UNITED STATES SECRETARY OF             )
 STATE ANTONY BLINKEN, et al.,          )
                                        )
       Nominal Defendants.              )
 ______________________________________ )

       Attorney Rick Boyer, who is a member of the bar of this Court, hereby

 enters this notice of appearance as counsel for defendant Ahmad Osmani and

 asks that all notices, pleadings, orders, and other papers filed in this matter

 be served upon him.

       Respectfully submitted, this the 27th day of September, 2022.

                                     BY: /s/Rick Boyer
                                     Rick Boyer (VA Bar #80154)
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                        CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2022, I electronically filed the

 foregoing with the Clerk of the Court using the CM/ECF systems, which will

 send notification to counsel of record of such filing to all CM/ECF participants

 and further certify that a copy was sent via US mail to the following:

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 Charlottesville, VA 22902

 Counsel for Secretaries Blinkin & Austin


                                            /s/Rick Boyer
                                            Rick Boyer




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